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15                       UNITED STATES DISTRICT COURT
16                     CENTRAL DISTRICT OF CALIFORNIA
17
   CRAIG HAIN, on Behalf of Himself and      Case No. 2:17-cv-3656
18 all Others Similarly Situated,
19                                           CLASS ACTION COMPLAINT
                          Plaintiff,
20         v.
21                                           JURY TRIAL DEMANDED
22 CONOPCO, INC., d/b/a UNILEVER,
23                        Defendant.
24
25
26
27
28
     CLASS ACTION COMPLAINT
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 1         Plaintiff Craig Hain (“Plaintiff”), by his attorneys, brings this class action
 2   complaint against Conopco, Inc., doing business as Unilever (“Conopco” or
 3   “Defendant”). Plaintiff’s allegations are based upon personal knowledge as to his
 4   own acts and upon information and belief as to all other matters.
 5                                  NATURE OF ACTION
 6
           1.     This is a class action against Conopco for misleading consumers about
 7
     the ingredients of its personal care products sold under the “Suave NATURALS”
 8
     (“Suave Naturals,” the “Products”) brand name, when in fact these products contain
 9
     unnatural and synthetic ingredients. At this time, Plaintiff has identified the
10
     following varieties of the Product:1
11                Suave® NATURALS rainforest fresh™ SHAMPOO;
12
                  Suave® NATURALS everlasting sunshine SHAMPOO;
                  Suave® NATURALS tropical coconut SHAMPOO;
13                Suave® NATURALS daily clarifying SHAMPOO;
                  Suave® NATURALS refreshing waterfall mist SHAMPOO;
14                Suave® NATURALS ocean breeze SHAMPOO;
                  Suave® NATURALS sun-ripened strawberry SHAMPOO;
15                Suave® NATURALS wild cherry blossom SHAMPOO;
16                Suave® NATURALS juicy green apple SHAMPOO;
                  Suave® NATURALS aloe & water lily SHAMPOO;
17                Suave® NATURALS soothing lavender lilac SHAMPOO;
                  Suave® NATURALS sweet pea violet SHAMPOO;
18                Suave® NATURALS almond verbena 2IN1 SHAMPOO +
19                   CONDITIONER;
                  Suave® NATURALS rainforest fresh™ CONDITIONER;
20                Suave® NATURALS everlasting sunshine CONDITIONER;
                  Suave® NATURALS tropical coconut CONDITIONER;
21                Suave® NATURALS daily clarifying CONDITIONER;
                  Suave® NATURALS waterfall mist CONDITIONER;
22
                  Suave® NATURALS ocean breeze CONDITIONER;
23                Suave® NATURALS sun-ripened strawberry CONDITIONER;
                  Suave® NATURALS wild cherry blossom CONDITIONER;
24                Suave® NATURALS juicy green apple CONDITIONER;
25
     1
      Defendant may discontinue offering some Products and regularly introduces new
26   products that are also falsely labeled as “NATURALS.” Defendant may also offer
     other similar “Suave NATURALS” brand products for sale of which Plaintiff is
27
     unaware. Plaintiff will ascertain the identities of these additional Products through
28   discovery.

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                      Suave® NATURALS aloe & water lily CONDITIONER;
 1
                      Suave® NATURALS soothing lavender lilac CONDITIONER;
 2                    Suave® NATURALS sweet pea violet CONDITIONER;
                      Suave® NATURALS rainforest fresh BODY WASH;
 3                    Suave® NATURALS everlasting sunshine BODY WASH;
                      Suave® NATURALS Creamy milk & honey splash BODY WASH;
 4
                      Suave® NATURALS Creamy apricot & orange blossom BODY
 5                     WASH;
                      Suave® NATURALS Creamy cocoa butter & shea BODY WASH;
 6                    Suave® NATURALS Creamy tropical coconut BODY WASH;
                      Suave® NATURALS Creamy almond & verbena BODY WASH;
 7                    Suave® NATURALS sweet pea & violet BODY WASH;
 8                    Suave® NATURALS ocean breeze BODY WASH;
                      Suave® NATURALS mango mandarin BODY WASH;
 9                    Suave® NATURALS wild cherry blossom BODY WASH;
                      Suave® NATURALS Everlasting Sunshine BODY LOTION;
10                    Suave® NATURALS Sweet Pea & Violet BODY LOTION;
                      Suave® NATURALS Mango Mandarin BODY LOTION;
11
                      Suave® NATURALS Lavender Vanilla BODY LOTION;
12                    Suave® NATURALS Wild Cherry Blossom BODY LOTION;
                      Suave® KiDS Naturals Head to Toe Wash soothing Lavender.
13
     Exhibit 1 attached hereto and incorporated by reference herein shows the labeling
14
     and ingredients for many of the Suave Naturals Products at issue.
15
           2.      Conopco engaged, and continues to engage, in a widespread, uniform
16
     marketing campaign using the Product packaging to mislead consumers about the
17
     nature, quality, and/or ingredients in Suave Naturals. Specifically, Conopco
18
     prominently places the following representations and imagery on the Products’
19
     packaging, even though Conopco knows they are false and misleading:
20
                a) “NATURALS” – Defendant prominently represents that the
21                 Products are “NATURALS” on the front label of the Products, in
22                 the name, “Suave NATURALS.”

23              b) “Infused with” Natural-Sounding Ingredients – Defendant makes
                   statements, such as “infused with mineral-rich algae extract,”
24                 highlighting that the Products contain various natural-sounding
                   ingredients. For instance, Suave NATURALS Rainforest Fresh
25
                   shampoo represents that it is “infused with aloe and bamboo
26                 extract,” and Suave NATURALS Tropical Coconut shampoo
                   represents that it is “infused with coconut extract.” E.g., Exhibit
27                 1.
28

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                  c) Scenic Images of Nature – Accompanying the abovementioned
 1
                     text on the Product packaging are images of natural scenery or
 2                   objects, such as blooming cherry blossoms, lush rainforest
                     undergrowth, or a cracked coconut. E.g., Exhibit 1
 3

 4                d) Natural-Sounding Product Names – Conopco named almost all of
                     the Suave Natural Product varieties after natural environments or
 5                   objects, including fruits. Examples include “Rainforest Fresh,”
                     “Everlasting Sunshine,” “Tropical Coconut,” “Waterfall Mist,”
 6                   and “Sun-Ripened Strawberry.”
 7           3.      Defendant’s “NATURALS” statements, the statements that the Products
 8   are “infused with” natural-sounding ingredients, the images of natural scenery or
 9   objects, and the natural-sounding Product names deceive and mislead consumers into
10   believing the Products have a natural quality.
11           4.      Unfortunately for consumers, the Suave Naturals Products, which are
12   sold in numerous nationwide supermarket and pharmacy chains, are not
13   “NATURALS” or natural. Rather, the Products contain numerous unnatural and
14   synthetic ingredients.
15           5.      For example, Suave® NATURALS rainforest fresh™ SHAMPOO
16   contains synthetic and unnatural ingredients, including but not limited to the
17   following:
18
                  a) Sodium Laureth Sulfate – Sodium laureth sulfate is a heavily
19                   processed ingredient synthetically derived from ethoxylated
                     lauryl alcohol and used as a surfactant.
20
                  b) Cocamide MEA – Cocamide MEA is a compound synthesized
21                   from coconut oils and ethanolamine. Environmental Working
22                   Group, Skin Deep® Cosmetics Database, COCAMIDE MEA,
                     http://www.ewg.org/skindeep/ingredient/701517/COCAMIDE_
23                   MEA/ (last visited May 11, 2017).
24                a) Ammonium Chloride – Commercial manufacture of ammonium
                     chloride is usually synthetic.2 Synthetic manufacture can occur
25
                     by bubbling ammonia gas into water. This will form ammonium
26                   hydroxide, which can be combined with hydrochloric acid to
                     produce ammonium chloride.
27
     2
28       The natural, mineralogical form of ammonium chloride is called “sal ammoniac.”

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 1
                b) Fragrance (Parfum) – The fragrances commonly used in body
 2                 wash can have as many as 200 ingredients and are synthetic.
                   Plaintiff alleges on information and belief that the “Fragrance” in
 3                 the Products is synthetic.
 4
                c) Tetrasodium EDTA – This ingredient is produced synthetically
 5                 for industrial purposes in the laboratory. It is a preservative made
                   from the known carcinogen formaldehyde and sodium cyanide. It
 6                 is also a penetration enhancer, meaning it breaks down the skin’s
                   protective barrier, going directly into the bloodstream.
 7

 8              d) DMDM Hydantoin – DMDM hydantoin is a synthetic
                   antimicrobial preservative that is a “formaldehyde releaser” (i.e.,
 9                 over time, it releases formaldehyde, a known carcinogen).
10              e) Methylchloroisothiazolinone – Methylchloroisothiazolinone is a
                   preservative also known as “CMIT.” In combination with
11
                   methylisothiazolinone, it goes by the trade name Kathon CG
12                 (among others). It is synthetically produced.
13              f) Methylisothiazolinone – Also known as “MIT,” this ingredient is
                   a synthetic substance that can control or kill microorganisms. It
14                 is used as a preservative.
15
                g) PPG-9 – This is another name for polypropylene glycol, which is
16                 the active component in antifreeze that is also used in automobile
                   coolant. In the normal manufacturing process, propylene—a
17                 byproduct of gasoline manufacture—is converted to propylene
                   oxide. This compound is then polymerized, using a strong base,
18
                   such as potassium hydroxide, as a catalyst.
19

20         6.      For another example, Suave® NATURALS rainforest fresh BODY

21   WASH contains synthetic, unnatural ingredients, including but not limited to the

22   following:

23              a) Sodium Laureth Sulfate – See supra ¶ 5.a..
24              b) Ammonium Chloride – See supra ¶ 5.c.
25
                c) Cocamide MEA – See supra ¶ 5.b.
26
                d) Fragrance (Parfum) – See supra ¶ 5.d
27

28              e) Glycerin – Usually, glycerin is manufactured for commercial use
                   through hydrolysis of fats and oils during the manufacturing of
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                   soap products or synthesized from the hydrogenolysis of
 1
                   carbohydrates or from petrochemicals. Chemicals used in
 2                 glycerin synthesis include epichlorohydrin (hazardous), sodium
                   hydroxide (synthetic and hazardous), allyl alcohol (synthetic and
 3                 hazardous), hydrogen peroxide (synthetic), and peracetic acid
                   (synthetic). Plaintiff believes and alleges Defendant synthesizes
 4
                   the glycerin in the Products using common manufacturing
 5                 methods.
 6              f) PPG-9 – See supra ¶ 5.i.
 7
                g) Tetrasodium EDTA – See supra ¶ 5.e.
 8
                h) Methylchloroisothiazolinone – See supra ¶ 5.g,.
 9
                i) Methylisothiazolinone – See supra ¶ 5.h.
10
           7.      These synthetic ingredients are not mere trace ingredients within the
11
     Products. To the contrary, the Products contain only a miniscule amount of even
12
     arguably natural ingredients (other than water). After water, synthetic ingredients
13
     comprise the overwhelming majority of the Products’ composition.
14
           8.      For example, the most prevalent ingredients in Suave® NATURALS
15
     rainforest fresh™ SHAMPOO are water (aqua), sodium laureth sulfate (synthetic),
16
     cocamide MEA (synthetic), and ammonium chloride (synthetic).3 The next-most
17
     prevalent ingredient is fragrance (parfum) (synthetic), which Plaintiff believes
18
     constitutes only a small percentage of the Product’s composition. Moreover, of the
19
     sixteen ingredients in Suave NATURALS Rainforest Fresh shampoo, only four —
20
     water, “Bambusa Arundinacea Stem Extract,” “Aloe Barbadensis Leaf Extract,” and
21
     perhaps citric acid—are even arguably natural. Other than water, these arguably
22
     natural ingredients are among the least predominant ingredients in the Products.
23
           9.      For another example, the most prevalent ingredients in Suave®
24
     NATURALS rainforest fresh BODY WASH are water, sodium laureth sulfate
25
     (synthetic), ammonium chloride (synthetic), and cocamide MEA (synthetic). The
26
     3
27    The United States Food and Drug Administration requires ingredients to be listed
     on cosmetic product labels in the order of predominance in the product. 21 C.F.R. §
28   701.3(a), (c).

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 1   next-most prevalent ingredient is fragrance (synthetic), which, on information and
 2   belief, constitutes only a small percentage of the Product’s composition. Moreover,
 3   of the seventeen ingredients in Suave NATURALS Rainforest Fresh body wash,
 4   only four — water, “Bambusa Arundinacea Stem Extract,” and “Aloe Barbadensis
 5   Leaf Extract,” and perhaps citric acid—are even arguably natural, and “Bambusa
 6   Arundinacea Stem Extract,” “Aloe Barbadensis Leaf Extract,” and citric acid are
 7   among the least predominant ingredients in the Product.
 8         10.    The compositional structure of Suave® NATURALS rainforest fresh™
 9   SHAMPOO and Suave® NATURALS rainforest fresh BODY WASH is typical of
10   the Suave Naturals Products.
11         11.    “Unnatural” is a defining characteristic of synthetic ingredients.
12         12.    No reasonable consumer understands Products labeled “NATURALS”
13   to include numerous unnatural and synthetic ingredients, particularly when the only
14   ingredients that are even arguably natural are a vanishingly small part of the
15   Products’ composition.
16         13.    For example, no reasonable consumer understands Suave®
17   NATURALS rainforest fresh™ SHAMPOO, which is prominently labeled
18   “NATURALS,” to include, out of sixteen total ingredients, twelve that are not, in
19   fact, natural—particularly when the most prevalent Product ingredients (sodium
20   laureth sulfate, cocamide MEA, and ammonium chloride) are synthetic, with the
21   three non-water ingredients that are even arguably natural comprising only a tiny
22   part of the Product’s composition.
23         14.    For another example, no reasonable consumer understands Suave®
24   NATURALS rainforest fresh BODY WASH, which is labeled “NATURALS,” to
25   include, out of seventeen total ingredients, thirteen that are not, in fact, natural—
26   particularly when the most prevalent Product ingredients (sodium laureth sulfate,
27   ammonium chloride, and cocamide MEA) are synthetic, with the three non-water
28

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 1   ingredients that are even arguably natural comprising only a tiny part of the
 2   Product’s composition.
 3         15.    Through its deceptive practice of marketing and selling the Products as
 4   “NATURALS” despite the presence of synthetic ingredients, Defendant was able to
 5   command a premium price for the Products by deceiving consumers about the
 6   nature, quality, and/or ingredients of Suave Naturals.
 7         16.    Defendant was motivated to mislead consumers for no other reason than
 8   to take away market share from competing products, including but not limited to
 9   store-brand and brand name shampoos, conditioners, body washes, and body lotions,
10   thereby increasing its own sales and profits.
11         17.    Because Suave Naturals contain synthetic, unnatural ingredients,
12   Defendant’s claims on the Product labeling and in the Product marketing that the
13   Products are “NATURALS” are false and misleading, and they deceive consumers
14   into purchasing the Products.
15         18.    Further, because Suave Naturals contain synthetic, unnatural
16   ingredients, Defendant’s claims that the Products are “infused with” various natural-
17   sounding ingredients, as well as Defendant’s use of images of natural scenery or
18   objects and natural-sounding Product names, on the Product labeling and in the
19   Product marketing are misleading, and they deceive consumers into purchasing the
20   Products.
21         19.    As a direct and proximate result of Defendant’s false and misleading
22   advertising claims and marketing practices, Plaintiff and the members of the Class,
23   as defined herein, purchased Suave Naturals. Were it not for Defendant’s unfair and
24   deceptive practices, Plaintiff and the proposed class members either would not have
25   purchased Defendant’s Suave Naturals Products, or would have sought materially
26   different terms. As a result, Plaintiff and members of the Class purchased Suave
27   Naturals and have been injured in fact. Plaintiff and class members have suffered an
28   ascertainable and out-of-pocket loss. Plaintiff and members of the Class seek a
     CLASS ACTION COMPLAINT                                                                7
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 1   refund and/or rescission of the transaction and all further equitable and injunctive
 2   relief as provided by applicable law.
 3         20.      Plaintiff seeks relief in this action individually and on behalf of all
 4   purchasers of Suave Naturals for breach of express warranty and fraud. Plaintiff also
 5   seeks relief in this action individually and on behalf of purchasers of Suave Naturals
 6   in California for violation of Civil Code §§ 1750, et seq., the California Consumer
 7   Legal Remedies Act (“CLRA”), Bus. & Prof. Code §§ 17200, et seq., California’s
 8   Unfair Competition Law (“UCL”), and Bus. & Prof. Code §§ 17500, et seq.,
 9   California’s False Advertising Law (“FAL”). Plaintiff also seeks relief in this action
10   individually and on behalf of purchasers of Suave Naturals in New York for
11   violation of New York Gen. Bus. Law (“GBL”) § 349, and GBL § 350.
12
                                           THE PARTIES
13
           Plaintiff Hain
14

15         21.      Plaintiff Craig Hain is a resident of Santa Monica, California, and
16   Manhattan, New York.
17         22.      During the past five years, Mr. Hain regularly purchased multiple
18   varieties of Suave Naturals shampoo and conditioner at major retailers including
19   CVS, Ralph’s, Von’s, and Safeway. These purchases were made in Santa Monica,
20   California, and Manhattan, New York.
21         23.      The packaging of the Products Mr. Hain purchased contained the
22   representation that they were “Naturals,” representations that the products were
23   “infused with” various natural-sounding ingredients and imagery of natural scenes
24   and objects.
25         24.      Defendant’s misrepresentation that the Products are “NATURALS,”
26   when in fact the Products contain unnatural and synthetic ingredients was an
27   immediate cause of Plaintiff Hain’s decision to purchase the Products. In all
28   reasonable probability, he would not have agreed to purchase the Product, or would

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 1   have sought materially different terms, had he known that the Defendant’s
 2   representation was false and misleading.
 3         25.    Plaintiff would purchase Suave Naturals products again if the
 4   advertising of the products were to be truthful in the future, such as through a change
 5   in the formulation of the products that would cause the current naturals claims on the
 6   products’ labels to be truthful and not misleading
 7         26.    Conopco’s misrepresentation that the Products are “NATURALS,”
 8   when in fact they were made with synthetic and unnatural ingredients, played a
 9   substantial part, and so had been a substantial factor in, Plaintiff Hain’s decision to
10   purchase Suave Naturals.
11         Defendant
12         27.    Defendant Conopco, Inc., is a corporation organized under the laws of
13   the State of New York. Conopco’s principal executive office is located at 700
14   Sylvan Avenue, Englewood Cliffs, New Jersey 07632.
15
                                JURISDICTION AND VENUE
16
           28.    This Court has jurisdiction over this action pursuant to 28 U.S.C. §
17
     1332(d) because there are more than 100 Class Members, the aggregate amount in
18
     controversy exceeds $5,000,000.00, exclusive of interest, fees, and costs, and at least
19
     one Class member is a citizen of a state different from at least one Defendant.
20
           29.    Venue is proper in this District pursuant to 28 U.S.C. § 1391 because
21
     Defendant does business throughout this District, Plaintiff purchased Suave Naturals
22
     several times in this District, and Suave Naturals are sold extensively in this District.
23
                                    FACTUAL ALLEGATIONS
24
           30.    Defendant sells several types of personal care products, including
25
     shampoo, conditioner, body wash, and body lotion, under the “Suave NATURALS”
26
     brand that are widely used by both children and adults.
27
           31.    As discussed above, on the Product labels, Defendant prominently
28
     markets the Products as “NATURALS,” states they are “infused with” various
     CLASS ACTION COMPLAINT                                                                    9
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 1   natural-sounding ingredients, and features picturesque natural scenery and objects on
 2   the Product labeling.
 3         32.    Additionally, Defendant named almost all of the Suave Naturals Product
 4   varieties after natural environments or objects such as fruits, including but not
 5   limited to “Rainforest Fresh,” “Everlasting Sunshine,” “Tropical Coconut,”
 6   “Waterfall Mist,” “Ocean Breeze,” “Sun-Ripened Strawberry,” “Wild Cherry
 7   Blossom,” “Juicy Green Apple,” “Aloe & Water Lily,” “Soothing Lavender Lilac,”
 8   “Sweet Pea Violet,” “Creamy Milk & Honey Splash,” “Creamy Apricot & Orange
 9   Blossom,” “Creamy Cocoa Butter & Shea,” “Mango Mandarin,” and “Lavender
10   Vanilla.” E.g., Exhibit 1.
11         33.    Thus, Defendant’s Products use a variety of names that mislead
12   consumers to believe the Products consist of numerous natural ingredients and/or
13   obscure the overwhelming quantity of unnatural, synthetic ingredients that actually
14   comprise the Products.
15         34.    Consumers, including Plaintiff and the other members of the “Class” (as
16   defined below), frequently rely on label representations and information in making
17   purchase decisions.
18         35.    Despite knowing that the synthetic ingredients are not natural and that
19   its Products consist of numerous synthetic ingredients, Defendant has engaged in a
20   widespread marketing and advertising campaign to portray the Products as
21   “NATURALS” and to otherwise represent that the Products are natural, as discussed
22   above.
23         36.    Defendant labels the Products as “NATURALS” and with the other
24   representations/imagery discussed above to induce consumers to purchase its
25   Products over competing ones.
26         37.    Defendant’s representation that the Products are “NATURALS” is false
27   and misleading because products containing synthetic ingredients are unnatural. A
28   reasonable consumer believes that Products labeled “NATURALS” do not contain
     CLASS ACTION COMPLAINT                                                              10
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 1   unnatural, synthetic ingredients; in fact, however, the Products do contain such
 2   ingredients.
 3         38.      Further, because Suave Naturals contain synthetic and unnatural
 4   ingredients, Defendant’s claims that the Products are “infused with” various natural-
 5   sounding ingredients, as well as Defendant’s use of images of natural scenery or
 6   objects and natural-sounding Product names, on the Product labeling and in the
 7   Product marketing are misleading. Statements that the Products are “infused with”
 8   various natural-sounding ingredients, imagery of natural scenery or objects, and
 9   natural-sounding Product names on the Product labels suggest to a reasonable
10   consumer that the Products do not contain unnatural and synthetic ingredients; in
11   fact, however, the Products do contain such ingredients.
12         39.      Plaintiff and the other members of the Class reasonably relied to their
13   detriment on Defendant’s false and misleading representations and omissions.
14   Defendant’s misleading affirmative statements that the Products are “NATURALS,”
15   as well as its other representations/imagery indicating the Products are natural,
16   obscured the material facts that Defendant failed to disclose about the unnaturalness
17   of its Products, including in particular the fact that the Products contain synthetic
18   ingredients.
19         40.      Plaintiff and the other Class members were among the intended
20   recipients of Defendant’s deceptive representations and omissions described herein.
21   Defendant’s deceptive representations and omissions, as described herein, are
22   material in that a reasonable person would attach importance to such information and
23   would be induced to act upon such information in making purchase decisions.
24         41.      Plaintiff and the Class members purchased the Products because they
25   wanted natural personal care products.
26         42.      Defendant’s deceptive representations and omissions injured Plaintiff
27   because they would not have purchased the Products, or would not have purchased
28   the Products at a premium price, had they been truthfully advertised and labeled.
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 1         43.    The materiality of the representations and omissions described herein
 2   establishes causation between Defendant’s conduct and the injuries that Plaintiff and
 3   the Class members sustained.
 4         44.    Defendant’s false, misleading, and deceptive misrepresentations and
 5   omissions, as described herein, are likely to continue to deceive and mislead
 6   reasonable consumers and the general public. Indeed, they have already deceived
 7   and misled Plaintiff and the other Class members.
 8         45.    In making the false, misleading, and deceptive representations and
 9   omissions set forth herein, Defendant knew and intended that consumers would pay
10   for natural products in lieu of comparable products that are not full of synthetic
11   ingredients, furthering Defendant’s private interest of increasing sales for its
12   Products and decreasing the sales of products that Defendant’s competitors truthfully
13   offer as “natural” or “naturals.”
14         46.    As an immediate, direct, and proximate result of Defendant’s false,
15   misleading, and deceptive representations and omissions (as detailed herein),
16   Defendant injured Plaintiff and the other Class members in that they:
17
                  a) paid a sum of money for Products that were not as
18                   represented;
19                b) were deprived the benefit of the bargain because the Products
                     they purchased were different than what Defendant warranted;
20

21                c) were deprived the benefit of the bargain because the Products
                     they purchased had less value than what was represented by
22                   Defendant;
23                d) did not receive Products that measured up to their expectations
24                   as created by Defendant;

25                e) were denied the benefit of truthful cosmetic labels; and
26                f) were denied the benefit of the beneficial properties of the
                     natural cosmetics promised.
27

28

     CLASS ACTION COMPLAINT                                                               12
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 1         47.    Plaintiff and the other Class members all paid money for the Products.
 2   However, Plaintiff and the Class members did not obtain the full value of the
 3   advertised Products due to Defendant’s misrepresentations and omissions, as detailed
 4   herein. Plaintiff and the Class members purchased, and/or purchased more of, the
 5   Products than they would have had they known the truth about the Products’
 6   unnaturalness. Accordingly, Plaintiff and the Class members have suffered injury in
 7   fact and lost money or property as a result of Defendant’s wrongful conduct.
 8                                    CLASS ALLEGATIONS
 9         48.    Plaintiff brings this action as a class action under Federal Rule of Civil
10   Procedure 23 on behalf of a Class consisting of all persons in the United States who,
11   within the relevant statute of limitations period, purchased Suave Naturals (the
12   “Class”).
13         49.    Plaintiff also seeks to represent a subclass defined as all members of the
14   Class who purchased Suave Naturals in California (the “California Subclass”).
15         50.    Plaintiff also seeks to represent a subclass defined as all members of the
16   Class who purchased Suave Naturals in California (the “New York Subclass”).
17         51.    Excluded from the Classes are the Defendant, the officers and directors
18   of the Defendant at all relevant times, members of their immediate families and their
19   legal representatives, heirs, successors or assigns, and any entity in which either
20   Defendant has or had a controlling interest.
21         52.    Also, excluded from the Classes are persons or entities that purchased
22   Suave Naturals for purposes of resale.
23         53.    Plaintiff is a member of the Classes he seeks to represent.
24         54.    The Classes are so numerous that joinder of all members is impractical.
25   Although Plaintiff does not yet know the exact size of the Classes, Suave Naturals is
26   sold in major retail stores across the United States, including stores such as Target,
27   and Walmart. Major online retailers include Amazon.com and Walgreens.com.
28   Upon information and belief, the Class includes more than one million members.
     CLASS ACTION COMPLAINT                                                                13
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 1         55.    The Class is ascertainable because the Class Members can be identified
 2   by objective criteria – the purchase of Suave Naturals during the Class Period.
 3   Individual notice can be provided to Class Members “who can be identified through
 4   reasonable effort.” Fed. R. Civ. P. 23(c)(2)(B).
 5         56.    There are numerous questions of law and fact common to the Class
 6   which predominate over any individual actions or issues, including but not limited
 7   to:
 8                (a)   Whether Defendant breached an express warranty made to
                        Plaintiff and the Class;
 9
                  (b)   Whether Defendant labeled, marketed, advertised, and/or
10                      sold the Products to Plaintiff and Class Members using
                        false, misleading, and/or deceptive statements or
11
                        representations, including statements or representations
12                      concerning the nature, quality, and/or ingredients of the
                        Products;
13
                  (c)   Whether Defendant’s labeling, marketing, advertising,
14                      and/or selling of the Products as “NATURALS” and as
15                      natural constitutes an unfair or deceptive consumer sales
                        practice
16
                  (d)   Whether Defendant’s labeling, marketing, advertising,
17                      and/or selling of the Products as “NATURALS” and as
                        natural constitutes fraud;
18
19                (e)   Whether Defendant violated the CLRA;
20                (f)   Whether Defendant violated the UCL;
21                (g)   Whether Defendant violated the FAL;
22
                  (h)   Whether Defendant violated GBL § 349;
23
                  (i)   Whether Defendant violated GBL § 350;
24
                  (j)   Whether Class Members suffered an ascertainable loss as a
25
                        result of Defendant’s misrepresentations; and
26
                  (k)   Whether, as a result of Defendant’s misconduct as alleged
27                      herein, Plaintiff and the Class Members are entitled to
                        restitution, injunctive and/or monetary relief and, if so, the
28                      amount and nature of such relief.
     CLASS ACTION COMPLAINT                                                               14
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 1          57.    Plaintiff’s claims are typical of the claims of the members of the Class
 2   as all members of the Class are similarly affected by Defendant’s wrongful conduct.
 3   Plaintiff has no interests antagonistic to the interests of the other members of the
 4   Class. Plaintiff and all members of the Class have sustained economic injury arising
 5   out of Defendant’s violations of common and statutory law as alleged herein.
 6          58.    Plaintiff is an adequate representative of the Class because his interests
 7   do not conflict with the interests of the Class Members he seeks to represent, he has
 8   retained counsel competent and experienced in prosecuting class actions, and he
 9   intends to prosecute this action vigorously. Plaintiff and his counsel will fairly and
10   adequately protect the interests of the Class Members.
11          59.    The class mechanism is superior to other available means for the fair
12   and efficient adjudication of the claims of Plaintiff and the Class Members. Each
13   individual Class Member may lack the resources to undergo the burden and expense
14   of individual prosecution of the complex and extensive litigation necessary to
15   establish Defendant’s liability. Individualized litigation increases the delay and
16   expense to all parties and multiplies the burden on the judicial system presented by
17   the complex legal and factual issues of this case. Individualized litigation also
18   presents a potential for inconsistent or contradictory judgments. In contrast, the class
19   action device presents far fewer management difficulties and provides the benefits of
20   single adjudication, economy of scale, and comprehensive supervision by a single
21   court on the issue of Defendant’s liability. Class treatment of the liability issues will
22   ensure that all claims are consistently adjudicated.
23                                          COUNT I
24                               (Breach of Express Warranty)
25          60.    Plaintiff repeats the allegations contained in the paragraphs above as if
26   fully set forth herein.
27          61.    Plaintiff brings this Count individually and on behalf of the members of
28   the Class and Subclasses against the Defendant.
     CLASS ACTION COMPLAINT                                                                 15
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 1          62.    Conopco provided Plaintiff and Class Members with written express
 2   warranties including, but not limited to, warranties that the Products were
 3   “NATURALS” and were natural, as set forth above.
 4          63.    Conopco breached these warranties because the Products contain
 5   unnatural and synthetic ingredients and that did not otherwise conform to its
 6   warranties, as detailed above.
 7          64.    This breach resulted in damages to Plaintiff and Class Members, who
 8   bought Products, but did not receive the goods as warranted, in that the Products
 9   were not “NATURALS” or natural because they contained synthetic and unnatural
10   ingredients
11          65.    As a direct and proximate result of these acts, consumers have been and
12   are being harmed. Plaintiff and Class members have suffered injury and actual out-
13   of-pocket losses as a result of Defendant’s breach of the express warranty because:
14   (a) Plaintiff and the Class Members either would not have purchased Suave Naturals,
15   or would have sought materially different terms if they had known the true facts; (b)
16   Plaintiff and the Class paid an increased price for Suave Naturals due to the
17   mislabeling of Suave Naturals; and (c) Suave Naturals did not have the level of
18   quality, or value as promised.
19                                         COUNT II
20                                           (Fraud)
21          66.    Plaintiff repeats the allegations contained in the foregoing paragraphs as
22   if fully set forth herein.
23          67.    Plaintiff brings this claim individually and on behalf of the members of
24   the Class and Subclasses against the Defendant.
25          68.    At all relevant times, Defendant has intentionally misrepresented
26   material facts about the Products by advertising, marketing, distributing, and/or
27   selling the Products to Plaintiff and the Class members with claims that they are
28   “NATURALS” and natural, as detailed herein.
     CLASS ACTION COMPLAINT                                                               16
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 1         69.    At the time Defendant made the misrepresentations herein alleged,
 2   Defendant knew the products were not “NATURALS” or natural because they
 3   contained synthetic ingredients.
 4         70.    Defendant intentionally, willingly, and maliciously misrepresented the
 5   Products as “NATURALS” and natural with the purpose of inducing Plaintiff and
 6   the Class members to rely on those misrepresentations and inducing Plaintiff and the
 7   Class members to purchase the Products. Plaintiff and the Class members
 8   reasonably relied on Defendant’s representations that the Products were
 9   “NATURALS” and natural, as set forth herein, and, in reasonable reliance thereon,
10   purchased the Products.
11         71.    Plaintiff and the Class members were ignorant as to the falsity of
12   Defendant’s “NATURALS” and natural misrepresentations, as set forth herein, and
13   either would not have purchased the Products, or would have sought materially
14   different terms, had they known the Products were not “NATURALS” or natural
15   because they contained unnatural and synthetic ingredients. Plaintiff and the Class
16   members are not sophisticated experts with independent knowledge of the
17   formulation of Suave Naturals, and they acted reasonably when they justifiably
18   relied upon Defendant’s fraudulent representations.
19         72.    As a direct and proximate result of this fraud, Plaintiff and Class
20   Members have been and are being harmed. Plaintiff and Class members have
21   suffered injury and actual out-of-pocket losses as a result of Defendant’s fraud
22   because: (a) Plaintiff and the Class Members either would not have purchased Suave
23   Naturals, or would have sought materially different terms if they had known the true
24   facts; (b) Plaintiff and the Class paid an increased price for Suave Naturals due to the
25   mislabeling of Suave Naturals; and (c) Suave Naturals did not have the level of
26   quality, or value as promised.
27

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     CLASS ACTION COMPLAINT                                                               17
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 1                                             COUNT III
 2                (Consumer Legal Remedies Act, Civil Code §§ 1750, et. seq.)
 3          73.     Plaintiff repeats the allegations contained in the paragraphs above as if
 4   fully set forth herein.
 5          74.     Plaintiff brings this cause of action pursuant to California’s Consumers
 6   Legal Remedies Act, Cal. Civ. Code § 1750 et seq. (the “CLRA”), on behalf of
 7   himself and the California Subclass.
 8          75.     Plaintiff and the California Class Members are consumers who
 9   purchased Suave Natruals for personal, family, or household purposes. Accordingly,
10   Plaintiff and the California Class Members are “consumers” as that term is defined
11   by the CLRA in Cal. Civ. Code § 1761(d).
12          76.     At all relevant times, Suave Naturals constituted a “good” as that term is
13   defined in Cal. Civ. Code § 1761(a).
14          77.     At all relevant times, Defendant was a “person” as that term is defined
15   in Civ. Code § 1761(c).
16          78.     At all relevant times, Plaintiff’s purchase of Suave Naturals, and the
17   purchases of Suave Naturals by other Class Members, constituted “transactions” as
18   that term is defined in Cal. Civ. Code § 1761(e). Defendant’s actions,
19   representations, and conduct has violated, and continues to violate the CLRA,
20   because they extend to transactions that intended to result, or which have resulted in,
21   the sale of Suave Naturals to consumers.
22          79.     The policies, acts, and practices described in this Complaint were
23   intentionally, willingly, and maliciously undertaken to deceive consumers and
24   thereby result in the sale of Suave Naturals to Plaintiff and the California Subclass.
25   Defendant’s deception succeeded. Defendant’s practices, acts, policies, and course
26   of conduct violated the CLRA §1750 et seq. as described above.
27

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     CLASS ACTION COMPLAINT                                                                  18
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 1         80.     Defendant represented that Suave Naturals was of a particular standard,
 2   quality, and grade, when it was another, in violation of California Civil Code §
 3   1770(a)(7).
 4         81.     As alleged more fully above, Defendant has violated the CLRA by
 5   falsely and misleadingly representing to Plaintiff and the California Subclass
 6   members that the Products are “NATURALS” and are natural, when, in fact, the
 7   Products are comprised mostly of unnatural and synthetic ingredients.
 8         82.     As a result of engaging in such conduct, Defendant has violated
 9   California Civil Code section 1770(a)(5), (a)(7), and (a)(9).
10         83.     Pursuant to California Civil Code section 1780(a)(2) and (a)(5), Plaintiff
11   seeks an Order of this Court that includes, but is not limited to, an Order enjoining
12   Defendant from continuing to engage in unlawful, unfair, or fraudulent business
13   practices or any other act prohibited by law.
14         84.     Plaintiff and the California Class Members suffered injuries caused by
15   Defendant’s misrepresentations because: (a) Plaintiff and the Class Members either
16   would not have purchased Suave Naturals, or would have sought materially different
17   terms if they had known the true facts; (b) Plaintiff and the Class paid an increased
18   price for Suave Naturals due to the mislabeling of Suave Naturals; and (c) Suave
19   Naturals did not have the level of quality, or value as promised.
20         85.     Prior to the filing of this Complaint, a CLRA notice letter was served on
21   Defendant that complies in all respects with California Civil Code § 1782(a). A true
22   and correct copy of Plaintiff’s letter is attached as Exhibit 2. On April 3, 2017,
23   Plaintiff served Defendant a letter via certified mail, return receipt requested,
24   advising Defendant that it is in violation of the CLRA and must correct, repair,
25   replace, or otherwise rectify the goods alleged to be in violation of § 1770.
26   Defendant was further advised that in the event that the relief requested had not been
27   provided within thirty days, Plaintiff would bring an action for damages pursuant to
28   the CLRA.
     CLASS ACTION COMPLAINT                                                                  19
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 1          86.     Wherefore, Plaintiff seeks damages, restitution, and injunctive relief for
 2   this violation of the CLRA.
 3                                          COUNT IV
 4         (False Advertising Law, Business & Professions Code §§17500 et seq.)
 5          87.     Plaintiff repeats the allegations contained in the paragraphs above as if
 6   fully set forth herein.
 7          88.     Plaintiff brings this Count on behalf of the California Class.
 8          89.     California’s FAL (Bus. & Prof. Code §§17500, et seq.) makes it
 9   “unlawful for any person to make or disseminate or cause to be made or
10   disseminated before the public in this state, . . . in any advertising device . . . or in
11   any other manner or means whatever, including over the Internet, any statement,
12   concerning . . . personal property or services, professional or otherwise, or
13   performance or disposition thereof, which is untrue or misleading and which is
14   known, or which by the exercise of reasonable care should be known, to be untrue or
15   misleading.”
16          90.     Throughout the Class Period, Defendant committed acts of false
17   advertising, as defined by the FAL, by using false and misleading statements to
18   promote the sale of Suave Naturals, as described above, and including, but not
19   limited to, representing that Suave Naturals is a natural when in fact it contains
20   numerous synthetic ingredients.
21          91.     Defendant knew or should have known, through the exercise of
22   reasonable care, that their statements were untrue and misleading.
23          92.     Defendant’s actions in violation of the FAL were false and misleading
24   such that the general public is and was likely to be deceived.
25          93.     As a direct and proximate result of these acts, consumers have been and
26   are being harmed. Plaintiff and members of the California Subclass have suffered
27   injury and actual out-of-pocket losses as a result of Defendant’s FAL violation
28   because: (a) Plaintiff and the Class Members either would not have purchased Suave
     CLASS ACTION COMPLAINT                                                                      20
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 1   Naturals, or would have sought materially different terms if they had known the true
 2   facts; (b) Plaintiff and the Class paid an increased price for Suave Naturals due to the
 3   mislabeling of Suave Naturals; and (c) Suave Naturals did not have the level of
 4   quality, or value as promised.
 5          94.    Plaintiff brings this action pursuant to Bus. & Prof. Code § 17535 for
 6   injunctive relief to enjoin the practices described herein and to require Defendant to
 7   issue corrective disclosures to consumers. Plaintiff and the California Class are
 8   therefore entitled to: (a) an order requiring Defendant to cease the acts of unfair
 9   competition alleged herein; (b) full restitution of all monies paid to Defendant as a
10   result of their deceptive practices; (c) interest at the highest rate allowable by law;
11   and (d) the payment of Plaintiff’s attorneys’ fees and costs pursuant to, inter alia,
12   California Code of Civil Procedure §1021.5.
13                                          COUNT V
14     (Violation of California’s Unfair Competition Law, Cal. Bus. & Prof. Code §§
15                                        17200 et seq.)
16          95.    Plaintiff repeats the allegations contained in the paragraphs above as if
17   fully set forth herein.
18          96.    Plaintiff brings this Count individually and on behalf of the California
19   Subclass against Defendant.
20          97.    The UCL, Bus. & Prof. Code § 17200 et seq., provides, in pertinent
21   part: “Unfair competition shall mean and include unlawful, unfair or fraudulent
22   business practices and unfair, deceptive, untrue or misleading advertising ….” The
23   UCL also provides for injunctive relief and restitution for UCL violations.
24          98.    “By proscribing any unlawful business practice, section 17200 borrows
25   violations of other laws and treats them as unlawful practices that the UCL makes
26   independently actionable.” Cel-Tech Communications, Inc. v. Los Angeles Cellular
27   Telephone Co., 20 Cal. 4th 163, 180 (1999) (citations and internal quotation marks
28   omitted).
     CLASS ACTION COMPLAINT                                                                    21
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 1         99.     Virtually any law or regulation – federal or state, statutory, or common
 2   law – can serve as a predicate for an UCL “unlawful” violation. Klein v. Chevron
 3   U.S.A., Inc., 202 Cal. App. 4th 1342, 1383 (2012).
 4         100. Defendant’s conduct, described herein, violated the “unlawful” prong of
 5   the UCL by violating the CLRA and FAL.
 6         101. Defendant’s conduct, described herein, violated the “unfair” prong of
 7   the UCL by misrepresenting the Products as “NATRUALS” or natural, when in fact
 8   the Products contain synthetic and unnatural ingredients.
 9         102. Defendant’s conduct, described herein, violated the “fraudulent” prong
10   of the UCL by misrepresenting the Products as “NATRUALS” or natural, when in
11   fact the Products contain synthetic and unnatural ingredients.
12         103. Plaintiff and the California Subclass members are not sophisticated
13   experts with independent knowledge of the formulation of Suave Naturals, and they
14   acted reasonably when they purchased Suave Naturals based on their belief that
15   Defendant’s representations were true.
16         104. Defendant knew or should have known, through the exercise of
17   reasonable care, that their representations about Suave Naturals were untrue and
18   misleading.
19         105. As a direct and proximate result of these acts, consumers have been and
20   are being harmed. Plaintiff and members of the California Subclass have suffered
21   injury and actual out-of-pocket losses as a result of Defendant’s UCL violation
22   because: (a) Plaintiff and the Class Members either would not have purchased Suave
23   Naturals, or would have sought materially different terms if they had known the true
24   facts; (b) Plaintiff and the Class paid an increased price for Suave Naturals due to the
25   mislabeling of Suave Naturals; and (c) Suave Naturals did not have the level of
26   quality, or value as promised.
27         106. Pursuant to Bus. & Prof. Code §17203, Plaintiff and the California
28   Class are therefore entitled to: (a) an order requiring Defendant to cease the acts of
     CLASS ACTION COMPLAINT                                                               22
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 1   unfair competition alleged herein; (b) full restitution of all monies paid to Defendant
 2   as a result of their deceptive practices; (c) interest at the highest rate allowable by
 3   law; and (d) the payment of Plaintiff’s attorneys’ fees and costs pursuant to, inter
 4   alia, California Code of Civil Procedure §1021.5.
 5                                          COUNT VI
 6                      (Violation of New York General Business Law § 349)
 7          107. Plaintiff repeats the allegations contained in the paragraphs above as if
 8   fully set forth herein.
 9          108. Plaintiff brings this Count individually and on behalf of the members of
10   the New York Subclass.
11          109. GBL § 349 prohibits “deceptive acts or practices in the conduct of any
12   business, trade or commerce or in the furnishing of any service in [New York].”
13          110. As fully alleged above, by advertising, marketing, distributing, and/or
14   selling the Products with claims that they were “NATURALS” and otherwise natural
15   to Plaintif Hain and the New York Subclass members, Defendant engaged in, and
16   continues to engage in, deceptive acts and practices because the Products are in fact
17   made from unnatural and synthetic ingredients.
18          111. Plaintiff Hain and the New York Subclass members believed
19   Defendant’s representations that the Products they purchased were “NATURALS”
20   and natural. Plaintiff Hain and the New York Subclass members would not have
21   purchased the Products at a premium price had they known the Products were not
22   actually “NATURALS” or natural because they contained synthetic ingredients.
23          112. Plaintiff and the New York Subclass members were injured in fact and
24   lost money as a result of Defendant’s conduct of improperly describing the Products
25   as “NATURALS” and natural. Plaintiff Hain and the New York Subclass members
26   paid for “NATURALS” and natural Products, but did not receive such Products.
27          113. As a direct and proximate result of these acts, consumers have been and
28   are being harmed. Plaintiff and members of the New York Subclass have suffered
     CLASS ACTION COMPLAINT                                                                    23
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 1   injury and actual out-of-pocket losses as a result of Defendant’s GBL violation
 2   because: (a) Plaintiff and the Class Members either would not have purchased Suave
 3   Naturals, or would have sought materially different terms if they had known the true
 4   facts; (b) Plaintiff and the Class paid an increased price for Suave Naturals due to the
 5   mislabeling of Suave Naturals; and (c) Suave Naturals did not have the level of
 6   quality, or value as promised.
 7         114. By reason of the foregoing, Defendant’s conduct, as alleged herein,
 8   constitutes deceptive acts and practices in violation of GBL 349, and Defendant is
 9   liable to Plaintiff Hain and the New York Subclass members for the actual damages
10   that they have suffered as a result of Defendant’s actions. The amount of such
11   damages is to be determined at trial, but will not be less than $50.00 per violation.
12   N.Y. Gen. Bus. Law § 349(h).
13         115. Plaintiff and the New York Subclass members seek to enjoin such
14   unlawful, deceptive acts and practices described above. Each of the New York
15   Subclass members will be irreparably harmed unless the Court enjoins Defendant’s
16   unlawful, deceptive actions in that Defendant will continue to falsely and
17   misleadingly advertise the Products as “NATURALS” and as natural, as detailed
18   herein.
19         116. Plaintiff and the New York Subclass members seek declaratory relief,
20   restitution for monies wrongfully obtained, disgorgement of ill-gotten revenues
21   and/or profits, injunctive relief prohibiting Defendant from continuing to disseminate
22   its false and misleading statements, and other relief allowable under GBL 349.
23                                        COUNT VII
24                       Violation of New York Gen. Bus. Law § 350
25         117. Plaintiff repeats the allegations in the foregoing paragraphs as if fully
26   set forth herein.
27         118. Plaintiff Hain bring this claim individually and on behalf of the
28   members of the New York Subclass against Defendant.
     CLASS ACTION COMPLAINT                                                                  24
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 1         119. By the acts and conduct alleged herein, Defendant committed unfair or
 2   deceptive acts and practices for the purpose of generating retail sales, which could
 3   and did increase the amount of wholesale sales to Defendant.
 4         120. The foregoing deceptive acts and practices were directed at consumers.
 5         121. The foregoing deceptive acts and practices are misleading in a material
 6   way because they fundamentally misrepresent the characteristics and benefits of the
 7   Products to induce consumers to purchase the same.
 8         122. Based on the foregoing, Defendant has engaged in consumer-oriented
 9   conduct that is deceptive or misleading in a material way, which constitutes false
10   advertising in violation of Section 350 of the New York General Business Law.
11         123. Defendant’s misrepresentation resulted in consumer injury and harm to
12   the public interest.
13         124. As a direct and proximate result of these acts, consumers have been and
14   are being harmed. Plaintiff and members of the New York Subclass have suffered
15   injury and actual out-of-pocket losses as a result of Defendant’s GBL violation
16   because: (a) Plaintiff and the Class Members either would not have purchased Suave
17   Naturals, or would have sought materially different terms if they had known the true
18   facts; (b) Plaintiff and the Class paid an increased price for Suave Naturals due to the
19   mislabeling of Suave Naturals; and (c) Suave Naturals did not have the level of
20   quality, or value as promised.
21         125. As a result of Defendant’s misrepresentation, Plaintiff Hain and
22   members of the New York Subclass have suffered economic injury. Plaintiff Hain
23   and members of the New York Subclass suffered an ascertainable loss caused by
24   Defendant’s misrepresentation equal to the price premium they paid for the Products.
25         126. On behalf of themselves and other members of the New York Subclass,
26   Plaintiff Hain seek to enjoin the unlawful acts and practices described herein, to
27   recover actual damages or five hundred dollars, whichever is greater, three times
28   actual damages, and reasonable attorneys’ fees.
     CLASS ACTION COMPLAINT                                                                 25
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 1         WHEREFORE, Plaintiff prays for relief and judgment, as follows:
 2         A.     Determining that this action is a proper class action;
 3         B.     For an order declaring that the Defendant’s conduct violates the statutes
 4   referenced herein;
 5         C.     Awarding compensatory and punitive damages in favor of Plaintiff,
 6   members of the Class, and the Subclasses against Defendant for all damages
 7   sustained as a result of the Defendant’s wrongdoing, in an amount to be proven at
 8   trial, including interest thereon;
 9         D.      Awarding injunctive relief against Defendant to prevent Defendant
10   from continuing their ongoing unfair, unconscionable, and/or deceptive acts and
11   practices;
12         E.     For an order of restitution and/or disgorgement and all other forms of
13   equitable monetary relief;
14         F.     Awarding Plaintiff and members the Class their reasonable costs and
15   expenses incurred in this action, including counsel fees and expert fees; and
16         G.     Awarding such other and further relief as the Court may deem just and
17   proper.
18                                        JURY DEMAND
19         Plaintiff hereby demands a trial by jury on all claims so triable in this action.
20

21   Dated: May 15, 2017                     Respectfully submitted,
22                                          BURSOR & FISHER, P.A.
23                                          By:           /s/ Yeremey O. Krivoshey
24                                                        Yeremey O. Krivoshey

25                                          L. Timothy Fisher (State Bar No. 191626)
                                            Joel D. Smith (State Bar No. 244902)
26                                          Yeremey O. Krivoshey (State Bar No.295032)
                                            Thomas A. Reyda (State Bar No. 312632)
27                                          1990 North California Blvd., Suite 940
28                                          Walnut Creek, CA 94596
                                            Telephone: (925) 300-4455
     CLASS ACTION COMPLAINT                                                                26
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 9                                      Counsel for Plaintiff

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     CLASS ACTION COMPLAINT                                                       27
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 1              Venue Declaration Pursuant to California Civil Code § 1780(d)
 2         I, Yeremey Krivoshey, declare as follows:
 3         1.      I am counsel for Plaintiff, and I am an associate at Bursor & Fisher,
 4   P.A. I make this declaration to the best of my knowledge, information, and belief of
 5   the facts stated herein.
 6         2.      The complaint filed in this action is filed in the proper place for trial
 7   because a substantial portion of the transaction occurred in this District, in that
 8   Plaintiff alleges that he purchased Suave NATURALS shampoo and conditioner, the
 9   products at issue in the complaint, in this District.
10         3.      Plaintiff alleges that he purchased Suave Naturals shampoo and
11   conditioner in Santa Monica, California. He alleges that Defendant’s representation
12   that the products are “NATURALS,” when in fact they were made with synthetic
13   and unnatural ingredients, played a substantial part, and so had been a substantial
14   factor in, Plaintiff’s decision to purchase the products. Accordingly, Plaintiff alleges
15   that he lost money as a result of Defendant’s false and misleading advertising.
16         I declare under the penalty of perjury under the laws of the State of California
17   that the foregoing is true and correct, executed on May 15, 2017 at Walnut Creek,
18   California.
19
                                                    /s/ Yeremey Krivoshey
20                                                  Yeremey Krivoshey
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                                                                EXHIBIT 1
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                           Packaging and Ingredients for
                  Suave® NATURALS rainforest fresh™ SHAMPOO

                                             Ingredients

                                             Water (Aqua)
                                             Sodium Laureth Sulfate
                                             Cocamide MEA
                                             Ammonium Chloride
                                             Fragrance (Parfum)
                                             Hydroxypropyl Methylcellulose
                                             Tetrasodium EDTA
                                             DMDM Hydantoin
                                             Citric Acid
                                             Methylchloroisothiazolinone
                                             Methylisothiazolinone
                                             PPG-9
                                             Bambusa Arundinacea Stem Extract
                                             Aloe Barbadensis Leaf Extract
                                             Blue 1 (CI 42090)
                                             Yellow 5 (CI 19140)




                                       1
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                          Packaging and Ingredients for
                 Suave® NATURALS everlasting sunshine SHAMPOO




                                           Ingredients
                                           Water (Aqua)
                                           Sodium Laureth Sulfate
                                           Ammonium Chloride
                                           Fragrance (Parfum)
                                           Glycol Distearate
                                           Hydroxypropyl Methylcellulose
                                           Cocamide MEA
                                           Tetrasodium EDTA
                                           Cocamidopropyl Betaine
                                           DMDM Hydantoin
                                           Citric Acid
                                           Methylchloroisothiazolinone
                                           Methylisothiazolinone
                                           PPG-9
                                           Polysorbate 20
                                           Euterpe Oleracea Fruit Oil
                                           Vanilla Planifolia Fruit Extract
                                           Passiflora Incarnata Flower Extract
                                           Yellow 5 (Cl 19140)
                                           Red 33 (CI 17200)


                                       2
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                           Packaging and Ingredients for
                   Suave® NATURALS tropical coconut SHAMPOO




                                           Ingredients
                                           Water (Aqua)
                                           Sodium Laureth Sulfate
                                           Cocamide MEA
                                           Ammonium Chloride
                                           Glycol Distearate
                                           Fragrance (Parfum)
                                           Ammonium Laureth Sulfate
                                           Ammonium Lauryl Sulfate
                                           Hydroxypropyl Methylcellulose
                                           Tetrasodium EDTA
                                           DMDM Hydantoin
                                           Citric Acid
                                           Ammonium Xylenesulfonate
                                           Propylene Glycol
                                           Tocopheryl Acetate [Vitamin E Acetate]
                                           Isopropyl Palmitate
                                           Methylchloroisothiazolinone
                                           Methylisothiazolinone
                                           Silk Amino Acids
                                           Honey
                                           PPG-9
                                           Urtica Dioica (Nettle) Extract
                                           Rosmarinus Officinalis (Rosemary) Leaf Extract
                                           Cocos Nucifera (Coconut) Fruit Extract


                                       3
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                           Packaging and Ingredients for
                   Suave® NATURALS daily clarifying SHAMPOO




                                           Ingredients
                                           Water (Aqua)
                                           Sodium Laureth Sulfate
                                           Cocamide MEA
                                           Ammonium Chloride
                                           Fragrance (Parfum)
                                           Hydroxypropyl Methylcellulose
                                           Tetrasodium EDTA
                                           DMDM Hydantoin
                                           Citric Acid
                                           Tocopheryl Acetate [Vitamin E Acetate]
                                           Methylchloroisothiazolinone
                                           Methylisothiazolinone
                                           PPG-9
                                           Blue 1 (CI 42090)
                                           Red 33 (CI 17200)




                                       4
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                           Packaging and Ingredients for
                Suave® NATURALS refreshing waterfall mist SHAMPOO

                                           Ingredients
                                           Water (Aqua)
                                           Sodium Laureth Sulfate
                                           Cocamide MEA
                                           Ammonium Chloride
                                           Fragrance (Parfum)
                                           Hydroxypropyl Methylcellulose
                                           Tetrasodium EDTA
                                           DMDM Hydantoin
                                           Citric Acid
                                           Tocopheryl Acetate [Vitamin E Acetate]
                                           Methylchloroisothiazolinone
                                           Methylisothiazolinone
                                           PPG-9
                                           Spirulina Maxima Extract
                                           Mentha Aquatic Leaf Extract
                                           Nymphaea Alba Flower Extract
                                           Blue 1 (CI 42090)
                                           Red 33 (Cl 17200)




                                       5
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                           Packaging and Ingredients for
                    Suave® NATURALS ocean breeze SHAMPOO




                                           Ingredients
                                           Water (Aqua)
                                           Sodium Laureth Sulfate
                                           Cocamide MEA
                                           Ammonium Chloride
                                           Fragrance (Parfum)
                                           Hydroxypropyl Methylcellulose
                                           Tetrasodium EDTA
                                           DMDM Hydantoin
                                           Citric Acid
                                           Tocopheryl Acetate [Vitamin E Acetate]
                                           Methylchloroisothiazolinone
                                           Methylisothiazolinone
                                           Sorbitol
                                           PPG-9
                                           Algae Extract
                                           Blue 1 (CI 42090)
                                           Yellow 5 (CI 19140)



                                       6
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                          Packaging and Ingredients for
                Suave® NATURALS sun-ripened strawberry SHAMPOO

                                           Ingredients

                                           Water (Aqua)
                                           Sodium Laureth Sulfate
                                           Ammonium Chloride
                                           Cocamide MEA
                                           Fragrance (Parfum)
                                           Hydroxypropyl Methylcellulose
                                           Tetrasodium EDTA
                                           DMDM Hydantoin
                                           Citric Acid
                                           Tocopheryl Acetate [Vitamin E Acetate]
                                           Propylene Glycol
                                           Methylchloroisothiazolinone
                                           Polysorbate 20
                                           Methylisothiazolinone
                                           PPG-9
                                           Fragaria Vesca (Strawberry) Juice
                                           Red 33 (CI 17200)
                                           Yellow 5 (CI 19140)




                                       7
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                          Packaging and Ingredients for
                Suave® NATURALS soothing lavender lilac SHAMPOO

                                           Ingredients

                                           Water, (Aqua)
                                           Sodium Laureth Sulfate
                                           Cocamide MEA
                                           Ammonium Chloride
                                           Fragrance (Parfum)
                                           Hydroxypropyl Methylcellulose
                                           Tetrasodium EDTA
                                           DMDM Hydantoin
                                           Citric Acid
                                           Tocopheryl Acetate [Vitamin E Acetate]
                                           Panthenol
                                           Propylene Glycol
                                           Methylchloroisothiazolinone
                                           Methylisothiazolinone
                                           Pp-9
                                           Passiflora Edulis Flower Extract
                                           Mentha Piperita (Peppermint) Leaf Extract
                                           Rose (Rose Canina) Extract
                                           Lavandula Angustifolia (Lavender) Extract
                                           Red 3




                                       8
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                          Packaging and Ingredients for
         Suave® NATURALS almond verbena 2IN1 SHAMPOO + CONDITIONER

                                       Ingredients

                                       Water (Aqua)
                                       Sodium Laureth Sulfate
                                       Cocamide MEA
                                       Ammonium Chloride
                                       Glycol Distearate
                                       Fragrance (Parfum)
                                       Carbomer
                                       Dimethiconol
                                       Citric Acid
                                       Tetrasodium EDTA
                                       Guar Hydroxypropyltrimonium Chloride
                                       DMDM Hydantoin
                                       Cocamidopropyl Betaine
                                       TEA-Dodecylbenzenesulfonate
                                       Caramel
                                       Tocopheryl Acetate
                                       Prunus Amygdalus Dulcis (Sweet Almond) Oil
                                       Methylchloroisothiazolinone
                                       Methylisothiazolinone
                                       PPG-9




                                       9
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                           Packaging and Ingredients for
                 Suave® NATURALS rainforest fresh™ CONDITIONER

                                        Ingredients

                                        Water (Aqua)
                                        Cetyl Alcohol
                                        Stearamidoethyl Diethylamine
                                        Fragrance (Parfum)
                                        Lactic Acid
                                        Potassium Chloride
                                        Disodium EDTA
                                        PEG-150 Distearate
                                        2-Bromo-2-Nitropropane-1,3-Diol
                                        Methylchloroisothiazolinone
                                        Methylisothiazolinone
                                        Bambusa Arundinacea Stem Extract
                                        Aloe Barbadensis Leaf Extract
                                        Blue 1 Lake (CI 42090)
                                        Yellow 5 (CI 19140)




                                      10
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                           Packaging and Ingredients for
                 Suave® NATURALS tropical coconut CONDITIONER

                                      Ingredients

                                      Water (Aqua)
                                      Cetyl Alcohol
                                      Stearamidopropyl Dimethylamine
                                      Lactic Acid
                                      Potassium Chloride
                                      Fragrance (Parfum)
                                      Disodium EDTA
                                      PEG-150 Distearate
                                      2-Bromo-2-Nitropropane-1,3-Diol
                                      Methylchloroisothiazolinone
                                      Methylisothiazolinone
                                      Propylene Glycol
                                      Tocopheryl Acetate [Vitamin E Acetate]
                                      Silk Amino Acids
                                      Honey
                                      Urtica Dioica (Nettle) Extract
                                      Rosmarinus Officinalis (Rosemary) Leaf Extract
                                      Cocos Nucifera (Coconut) Fruit Extract




                                      11
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                          Packaging and Ingredients for
              Suave® NATURALS sun-ripened strawberry CONDITIONER

                                        Ingredients

                                        Water
                                        Cetyl Alcohol
                                        Lactic Acid
                                        Stearamidopropyl Dimethylamine
                                        Potassium Chloride
                                        Fragrance
                                        Disodium EDTA
                                        PEG-150 Distearate
                                        2-Bromo-2-Nitropropane-1,3-Diol
                                        Vitamin E Acetate
                                        Strawberry Juice
                                        Polysorbate 20
                                        Yellow 5
                                        Red 33




                                      12
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                          Packaging and Ingredients for
               Suave® NATURALS wild cherry blossom CONDITIONER




                                      13
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                           Packaging and Ingredients for
               Suave® NATURALS soothing lavender lilac CONDITIONER

                                         Ingredients

                                         Water, (Aqua)
                                         Cetyl Alcohol
                                         Stearamidopropyl Dimethylamine
                                         Fragrance (Parfum)
                                         Lactic Acid
                                         Potassium Chloride
                                         Disodium EDTA
                                         DMDM Hydantoin
                                         PEG-150 Distearate
                                         Tocopheryl Acetate [Vitamin E Acetate]
                                         Panthenol
                                         Propylene Glycol
                                         Methylchloroisothiazolinone
                                         Methylisothiazolinone
                                         Passiflora Edulis Flower Extract
                                         Mentha Piperita (Peppermint) Leaf Extract
                                         Rose (Rose Canina) Extract
                                         Lavandula Angustifolia (Lavender) Extract
                                         Red 33 (Ci 17200)
                                         Blue 1 (Ci 42090)




                                       14
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                           Packaging and Ingredients for
                  Suave® NATURALS rainforest fresh BODY WASH

                                        Ingredients
                                        Water
                                        Sodium Laureth Sulfate
                                        Ammonium Chloride
                                        Cocamide MEA
                                        Fragrance (Parfum)
                                        Glycerin
                                        PPG-9
                                        Citric Acid
                                        Tetrasodium EDTA
                                        Tocopheryl Acetate [Vitamin E Acetate]
                                        Methylchloroisothiazolinone
                                        Methylisothiazolinone
                                        Bambusa Arundinacea Stem Extract
                                        Phenoxyethanol
                                        Aloe Barbadensis Leaf Extract
                                        Blue 1 (CI 42090)
                                        Yellow 5 (CI 19140)




                                      15
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                           Packaging and Ingredients for
               Suave® NATURALS Creamy tropical coconut BODY WASH

                                        Ingredients

                                        Water
                                        Ammonium Lauryl Sulfate
                                        Ammonium Laureth Sulfate
                                        Cocamidopropyl Betaine
                                        Fragrance
                                        Glycerin
                                        Cocos Nucifera (Coconut) Extract
                                        Tocopheryl Acetate (Vitamin E Acetate)
                                        Cocamide MEA
                                        PEG-5 Cocamide
                                        Propylene Glycol
                                        Polyquarternium-10
                                        Glycol Stearate
                                        Ammonium Chloride
                                        Tetrasodium EDTA
                                        Etidronic Acid
                                        Methylchloroisothiazolinone
                                        Methylisothiazolinone




                                      16
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                          Packaging and Ingredients for
               Suave® NATURALS Everlasting Sunshine BODY LOTION




                                           Ingredients
                                           Water (Aqua)
                                           Glycerin
                                           Stearic Acid
                                           Mineral Oil
                                           Glycol Stearate
                                           Dimethicone
                                           Glyceryl Stearate
                                           Triethanolamine
                                           Cyclopentasiloxane
                                           Fragrance (Parfum)
                                           Cetyl Alcohol
                                           Magnesium Aluminum Silicate
                                           DMDM Hydantoin
                                           Carbomer
                                           Propylene Glycol
                                           PEG/PPG-20/15 Dimethicone
                                           Disodium EDTA
                                           Methylparaben
                                           Iodopropynyl Butylcarbamate
                                           Stearamide AMP
                                           Polysorbate 20
                                           Euterpe Oleracea Fruit Oil
                                           Passiflora Incarnata Flower Extract
                                           Vanilla Planifolia Fruit Extract
                                           Caramel
                                           Titanium Dioxide (CI 77891)
                                           Yellow 5 (CI 19140)
                                           Yellow 6 (CI 15985)


                                      17
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                           Packaging and Ingredients for
                Suave® NATURALS Sweet Pea & Violet BODY LOTION




                                           Ingredients
                                           Water (Aqua)
                                           Glycerin
                                           Stearic Acid
                                           Mineral Oil
                                           Glycol Stearate
                                           Dimethicone
                                           Fragrance (Parfum)
                                           Pisum Sativum (Pea) Extract
                                           Viola Odorata Flower/Leaf Extract
                                           Glyceryl Stearate
                                           Triethanolamine
                                           Cyclopentasiloxane
                                           PEG/PPG-20/15 Dimethicone
                                           Cetyl Alcohol
                                           Magnesium Aluminum Silicate
                                           Carbomer
                                           Disodium EDTA
                                           Stearamide AMP
                                           Methylparaben
                                           DMDM Hydantoin
                                           Iodopropynyl Butylcarbamate
                                           Blue 1 (CI 42090)
                                           Red 33 (CI 17200)
                                           Yellow 5 (CI 19140)
                                           Titanium Dioxide (CI 77891



                                      18
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                           Packaging and Ingredients for
                 Suave® NATURALS Lavender Vanilla BODY LOTION

                                           Ingredients

                                           Water
                                           Glycerin
                                           Stearic Acid
                                           Mineral Oil (Paraffinum Liquidum)
                                           Glycol Stearate
                                           Dimethicone
                                           Fragrance
                                           Mangifera Indica (Mango) Fruit Extract
                                           Citrus Nobilis (Mandarin Orange) Peel Oil




                                      19
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                            Packaging and Ingredients for
               Suave® KiDS Naturals Head to Toe Wash soothing Lavender

                                              Ingredients

                                              Water (Aqua)
                                              Sodium Laureth Sulfate
                                              Cocamidopropyl Hydroxysultaine
                                              Cocamidopropyl Betaine
                                              PEG-150 Distearate
                                              Dimethiconol
                                              TEA-Dodecylbenzenesulfonate
                                              Fragrance (Parfum)
                                              Sodium Citrate
                                              Polyquaternium-10
                                              Laureth-23
                                              Cyclomethicone
                                              Glycerin
                                              Tetrasodium EDTA
                                              DMDM Hydantoin
                                              Citric Acid
                                              Methylchloroisothiazolinone
                                              Methylisothiazolinone
                                              Propylene Glycol
                                              PPG-9
                                              Lavandula Angustifolia (Lavender) Extract




                                         20
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                                                                EXHIBIT 2
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 1990 N. California Blvd.                                               Y            KRIVOSHEY
                                                                            E R E M E Y
 SUITE 940                                                                     Tel: 9 2 5 . 3 0 0 . 4 4 5 5
 W A L N UT C RE E K , CA 9 4 5 96                                             Fax: 9 2 5 . 4 0 7 . 2 7 0 0
 www.bursor.com                                                         ykrivoshey@bursor.com




                                          March 28, 2017

 Via Certified Mail - Return Receipt Requested

 Conopco, Inc.
 C T Corporation System
 818 W. 7th St. STE 930
 Los Angeles, CA 90017

 CT Corporation System
 111 8th Avenue
 New York, NY 10011

 Re:       Demand Letter Pursuant to California Civil Code § 1782, U.C.C. §§ 2-313, 2-314, and
           other applicable laws.

 To Whom It May Concern:

         This letter serves as a notice and demand for corrective action on behalf of my client,
 Leslie Craig Hain and all other persons similarly situated, arising from breaches of warranty and
 violations of numerous provisions of California and New York law including the Consumers
 Legal Remedies Act, Civil Code § 1770, including but not limited to subsections (a)(5), (7), and
 (9), and N.Y.G.B.L. §§ 349 and 350. This letter also serves as notice pursuant to Cal. Com.
 Code § 2607(3)(a) and U.C.C. 2-607(3)(A) concerning the breaches of express and implied
 warranties described herein.

         You have participated in the manufacture, marketing, and sale of Suave NATURALS line
 of personal care products, including, but not limited to:

          Suave® NATURALS rainforest fresh™ SHAMPOO;
          Suave® NATURALS everlasting sunshine SHAMPOO;
          Suave® NATURALS tropical coconut SHAMPOO;
          Suave® NATURALS daily clarifying SHAMPOO;
          Suave® NATURALS refreshing waterfall mist SHAMPOO;
          Suave® NATURALS ocean breeze SHAMPOO;
          Suave® NATURALS sun-ripened strawberry SHAMPOO;
          Suave® NATURALS wild cherry blossom SHAMPOO;
          Suave® NATURALS juicy green apple SHAMPOO;
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       Suave® NATURALS aloe & water lily SHAMPOO;
       Suave® NATURALS soothing lavender lilac SHAMPOO;
       Suave® NATURALS sweet pea violet SHAMPOO;
       Suave® NATURALS almond verbena 2IN1 SHAMPOO + CONDITIONER;
       Suave® NATURALS rainforest fresh™ CONDITIONER;
       Suave® NATURALS everlasting sunshine CONDITIONER;
       Suave® NATURALS tropical coconut CONDITIONER;
       Suave® NATURALS daily clarifying CONDITIONER;
       Suave® NATURALS waterfall mist CONDITIONER;
       Suave® NATURALS ocean breeze CONDITIONER;
       Suave® NATURALS sun-ripened strawberry CONDITIONER;
       Suave® NATURALS wild cherry blossom CONDITIONER;
       Suave® NATURALS juicy green apple CONDITIONER;
       Suave® NATURALS aloe & water lily CONDITIONER;
       Suave® NATURALS soothing lavender lilac CONDITIONER;
       Suave® NATURALS sweet pea violet CONDITIONER;
       Suave® NATURALS rainforest fresh BODY WASH;
       Suave® NATURALS everlasting sunshine BODY WASH;
       Suave® NATURALS Creamy milk & honey splash BODY WASH;
       Suave® NATURALS Creamy apricot & orange blossom BODY WASH;
       Suave® NATURALS Creamy cocoa butter & shea BODY WASH;
       Suave® NATURALS Creamy tropical coconut BODY WASH;
       Suave® NATURALS Creamy almond & verbena BODY WASH;
       Suave® NATURALS sweet pea & violet BODY WASH;
       Suave® NATURALS ocean breeze BODY WASH;
       Suave® NATURALS mango mandarin BODY WASH;
       Suave® NATURALS wild cherry blossom BODY WASH;
       Suave® NATURALS Everlasting Sunshine BODY LOTION;
       Suave® NATURALS Sweet Pea & Violet BODY LOTION;
       Suave® NATURALS Mango Mandarin BODY LOTION;
       Suave® NATURALS Lavender Vanilla BODY LOTION;
       Suave® NATURALS Wild Cherry Blossom BODY LOTION;
       Suave® KiDS Naturals Head to Toe Wash soothing Lavender.

 Collectively, the foregoing products, and all other products you manufactured or sold under the
 Suave NATURALS brand, will be referred to herein as “Suave Naturals” or “Products.”

         On the Suave NATURALS labels you misrepresent the Products as “natural.” On the
 Products’ labels, you make statements, such as “infused with mineral-rich algae extract” to
 highlight that the Products contain various natural-sounding ingredients. For instance, Suave
 NATURALS Rainforest Fresh shampoo represents that it is “infused with aloe and bamboo
 extract,” and Suave NATURALS Tropical Coconut shampoo represents that it is “infused with
 coconut extract.” Accompanying the aforementioned text on the Products’ labels, you placed
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 images of natural scenery or objects, such as blooming cherry blossoms, lush rainforest
 undergrowth, or a cracked coconut. Each of the Products is also named after natural
 environments or objects, including fruits. Examples include “Rainforest Fresh,” “Everlasting
 Sunshine,” “Tropical Coconut,” “Waterfall Mist,” and “Sun-Ripened Strawberry.”

        These representations regarding the “natural” nature of Suave NATURALS are false and
 misleading, because the Products actually contain numerous synthetic and highly chemically
 processed ingredients. These ingredients include, but are not limited to, sodium lauryl sulfate,
 cocamide MEA, Ammonium Chloride, Fragrance, Tetrasodium EDTA, DMDM Hydantoin,
 Methylchloroisothiazolinone, Methylisothiazolinone, PPG-9, and Glycerin.

        Mr. Hain, a resident of California and New York, purchased Suave Naturals products
 based on labeling stating that the Products were “natural.” He would not have purchased or
 would have paid significantly less for the Products if the labels had not stated that the Products
 were natural. Mr. Hain purchased the Products within the past three years on multiple occasions
 from retail locations in California and New York.

         Mr. Hain is acting on behalf of a class defined as all persons nationwide who purchased
 the Products (hereafter, the “Class”). A similar class of purchasers of Aveeno “Active Naturals”
 was recently certified in Goldemberg v. Johnson & Johnson Consumer Companies, Inc., __
 F.R.D. __, 2016 WL 5817012 (S.D.N.Y. Oct. 4, 2016). Mr. Hain is confident that a class will be
 certified on similar grounds here should you fail to take corrective action set forth herein.

         To cure the defects described above, we demand that you (1) cease and desist from
 continuing to mislabel the Products; (2) issue an immediate recall on any Products bearing
 misleading “natural” statements; and (3) make full restitution to all purchasers of the Products of
 all purchase money obtained from sales thereof.

          We further demand that you preserve all documents and other evidence which refer or
 relate to any of the above-described practices including, but not limited to, the following:

    1. All documents concerning the ingredients, formula, and manufacturing process for the
       Products;

    2. All communications with the U.S. Food and Drug Administration concerning the product
       development, manufacturing, marketing and sales of the Products;

    3. All documents concerning the advertisement, marketing, labeling, distribution, or sale of
       the Products; and

    4. All communications with customers concerning complaints or comments concerning the
       Products.
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    5. All documents and communications concerning a recently closed case, Paulino, et al. v.
       Conopco, Inc., Case No. 1:14-cv-5145 (E.D.N.Y.), and all other closed or pending
       litigation relating to Suave NATURALS.

          We are willing to negotiate to attempt to resolve the demands asserted in this letter. If
 you wish to enter into such discussions, please contact me immediately. If I do not hear from
 you promptly, I will conclude that you are not interested in resolving this dispute short of
 litigation. If you contend that any statement in this letter is inaccurate in any respect, please
 provide us with your contentions and supporting documents promptly.


                                                       Very truly yours,




                                                       Yeremey O. Krivoshey
